Case 5:20-cr-00081-BLF Document1 Filed 02/11/20 Page 1 of 4

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AO 9L (Rev? 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

-
Northern District of California ! L E BD

United States of America

v. sue | C020
Case No No HER. Us ¥ Sogn 3
JESUS RODRIGUEZ BAYLON . AN Dig7s'STRiG7 &

CR 20 76 \G¥wac

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 12, 2018 in the county of Santa Clara in the
Northern District of California , the defendant(s) violated:
Cade Section Offense Description
Count One: 8 U.S.C. 1326 Illegal Re-Entry Following Deportation

PENALTIES: Maximum 20 years imprisonment; $250,000 fine; 3 years
supervised release; $100 special assessment fee

This criminal complaint is based on these facts:

Please see attached affidavit.

NO BAIL ARREST WARRANT REQUESTED

@ Continued on the attached sheet.

Complainant’s signature

SO Shi a Deportation Officer Raymundo Esparza

SAUSA "xe A
ai 0a
Sima, Do Printed name and title

Sworn to before me and signed in my presence.
Date: [| Kf

pate TL judge sikgnatere

City and state: San Jose, CA Hon. Susan van Keulen, U.S. Magistrate Judge

Printed name and title

Case 5:20-cr-00081-BLF Document1 Filed 02/11/20 Page 2 of 4

AFFIDAVIT OF RAYMUNDO ESPARZA

I am a Deportation Officer of the United States Department of Homeland Security (DHS), Immigration and
Customs Enforcement (ICE) and have been so employed since April 15, 2018. I am currently assigned to
the Violent Criminal Alien Section (VCAS) of the San Jose Sub-Office. This Affidavit is made in support
of a Criminal Complaint charging that Jesus RODRIGUEZ-Baylon, was found in and unlawfully re-entered
the United States after deportation, without the permission of the Attorney General or the Secretary of
Homeland Security, in violation of Title 8, United States Code, Section 1326. I have reviewed official
records relating to the above named individual, which attests to the following:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

Mr. RODRIGUEZ-Baylon is a 31-year-old male who has used one (1) alias and one (1) dates of birth
in the past.

Mr. RODRIGUEZ-Baylon has been assigned one (1) Alien Registration number of A 077 174 699,
FBI number of 399325LB9, California Criminal Information Index number of CA21171006, and a
California Department of Corrections and Rehabilitation Number of P68601.

Mr. RODRIGUEZ-Baylon is a native of Mexico and a citizen of Mexico since birth. A check
through official records shows that he was arrested and deported on one (1) occasion from the United

States:

Date: Place of Deportation:
" 42/16/2003 Calexico, CA

Mr. RODRIGUEZ-Baylon last entered the United States at or near an unknown place on or after
December 16, 2003, by crossing the international border without inspection subsequent to
deportation.

Mr. RODRIGUEZ-Baylon was, on January 04, 2000, convicted in the Superior Court of California, in
and for the County of Santa Clara, for two counts of Lewd & Lascivious Act On A Child Under
Fourteen, an aggravated felony, in violation of Section 288(A) of the California Penal Code, and was
sentenced to five (05) years confinement.

Mr. RODRIGUEZ-Baylon was, on November 20, 2018, convicted in the Superior Court of California,
in and for the County of Santa Clara, for the offense of DUI Alcohol/0.08 Percent, a misdemeanor, in
violation of Section 23152(B) of the California Vehicle Code, and was sentenced to twelve (12) days
confinement.

July 12, 2018, Mr. RODRIGUEZ-Baylon's fingerprints were taken as part of the standard booking
procedures. The fingerprints were electronically submitted to CAL DOJ, NCIC/NGI and DHS/ICE
databases. Upon review of database information, it was determined that the fingerprints were
associated with Mr. RODRIGUEZ-Baylon's alien file, number A 077 174 669.

Page 1 of 2
Case 5:20-cr-00081-BLF Document1 Filed 02/11/20 Page 3 of 4

RODRIGUEZ-Baylon A077 174 699

(8) RODRIGUEZ-Baylon, on or about July 12, 2018, in Santa Clara County in the Northern District
of Califomia, was found to be unlawfully present in the United States, after prior arrest and
deportation, without the permission of the Attorney General or the Secretary of Homeland
Security, in violation of Title 8, Section 1326.

(9) On the basis of the above information, there is probable cause to believe that Mr.
RODRIGUEZ-Baylon illegally re-entered the United States, in violation of Title 8, United States

Code, Section 1326.

Raymundo Esparza
Deportation Officer
Immigration and Customs Enforcement

Subscribed and sworn to before me this

, 2020

HonorablySusan van Keulen
United States Magistrate Judge

Page 2 of 2
Case 5:20-cr-00081-BLF Document1 Filed 02/11/20 Page 4 of 4

AO 257 (Rev. 6/78)

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

By: [X] compLaint LJ INFORMATION LC] INDICTMENT
L_] sUPERSEDING

OFFENSE CHARGED

Count One:8 U.S.C. § 1326 - Illegal Re-Entry Following [_] Petty
Deportation
LJ Minor
Misde-
LJ meanor
Felony

PENALTY: Maximum 20 years imprisonment; $250,000 fine; 3 years
supervised release; $100 special assessment fee

CR

Name of District Court, and/or Judge/Magistrate Location
NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

(- DEFENDANT - U.S

b Jesus Rodriguez Baylon

Susy,
DISTRICT COURT NUMBEBRC (SAN

“1 *
\ y
DEFENDANT

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

Immigration and Customs Enforcement

person is awaiting trial in another Federal or State Court,
L] give name of court

this person/proceeding is transferred from another district
L per (circle one) FRCrp 20, 21, or 40. Show District

this is a reprosecution of
O charges previously dismissed

which were dismissed on motion SHOW
of: DOCKET NO.
[] U.S. ATTORNEY [] DEFENSE \
this prosecution relates to a
[_] pending case involving this same
defendant MAGISTRATE

prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under

\ CASE NO.
Name and Office of Person

Furnishing Information on this form DAVID L. ANDERSON

[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) SAUSA Jimmy Doan

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) LC] If not detained give date any prior
summons was served on above charges

2) [_] |!s a Fugitive

3) [-] |s on Bail or Release from (show District)

IS IN CUSTODY
4) |] On this charge

5) [-] On another conviction

} [_] Federal [_] State

6) Awaiting trial on other charges

If answer to (6) is "Yes", show name of institution
Immigration and Customs Enforcement

Has detainer L_] Yes

If "Yes"
been filed? Re } give date

filed

Month/Day/Year

DATE OF
» 2/11/2020

ARREST
Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

PROCESS:
[]SUMMONS  [_] NO PROCESS” WARRANT

If Summons, complete following:
LE] Arraignment [| Initial Appearance

Defendant Address:

Comments:

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

[_] This report amends AO 257 previously submitted

Bail Amount: None

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

